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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              TERRE HAUTE DIVISION

UNITED STATES OF AMERICA,                )
          Plaintiff,                     )
                                         )      2:21-mj-00026-CMM
       vs.                               )
                                         )
SHANE M. MEEHAN,                         )
          Defendant.                     )

                                             ENTRY


       The Court, having scheduled this matter for an initial appearance at 1:30 p.m. Friday,

August 13, 2021, now suspends its prior directive requiring weekly reports on the defendant’s

health status.




Dated: July 29, 2021




Distribution to:
Counsel of Record
